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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  UCB, INC. and UCB BIOPHARMA SRL, )
                                   )
                   Plaintiffs,     )
                                   )
             v.                    ) C.A. No. 20-987 (CFC)
                                   ) CONSOLIDATED
  ANNORA PHARMA PRIVATE            )
  LIMITED, et al.,                 )
                                   )
                   Defendants.     )

                NOTICE OF LODGING OF PLAINTIFFS’ TRIAL
                           DEMONSTRATIVES

        PLEASE TAKE NOTICE that Plaintiffs UCB, Inc. and UCB Biopharma SRL

  (collectively, “UCB”) hereby lodge copies of Plaintiffs’ demonstrative exhibits used

  at trial in this action held from November 14 through November 17, 2022.

        Exhibit 1: Plaintiffs’ Opening Statement (PDX-1-44);

        Exhibit 2: Cross Examination of Salvatore Lepore, Ph.D. (PDX-2-1-10);

        Exhibit 3: Direct Examination of Tristan T. Sands, M.D., Ph.D. (PDX-3-1-
        15);

        Exhibit 4: Direct Examination of Professor Wolfgang Löscher, D.V.M.,
        Ph.D. (PDX-4-1-50);

        Exhibit 5: Direct Examination of David W. MacMillan (PDX-5-1-78); and

        Exhibit 6: Plaintiffs’ Closing Statement (PDX-6-1-43).
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                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                   /s/ Megan E. Dellinger
                                   _____________________________________
                                   Jack B. Blumenfeld (#1014)
  OF COUNSEL:                      Karen Jacobs (#2881)
                                   Megan E. Dellinger (#5739)
  George F. Pappas                 1201 North Market Street
  Erica N. Andersen                P.O. Box 1347
  Philip S. May
                                   Wilmington, DE 19899-1347
  Cody J. Reeves
                                   (302) 658-9200
  Connor J. Kelley
  Tobias Ma                        jblumenfeld@morrisnichols.com
  COVINGTON & BURLING LLP          kjacobs@morrisnichols.com
  One CityCenter                   mdellinger@morrisnichols.com
  850 Tenth Street, NW
  Washington, DC 20001-4956        Attorneys for Plaintiffs UCB, Inc. and
  (202) 662-6000                   UCB Biopharma SRL

  Alexa R. Hansen
  Khala James
  COVINGTON & BURLING LLP
  Salesforce Tower
  415 Mission Street, Suite 5400
  San Francisco, CA 94105-2544
  (415) 591-6000

  December 15, 2022
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                             CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2022, I caused the foregoing to be

  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

        I further certify that I caused copies of the foregoing document to be served

  on December 15, 2022, upon the following in the manner indicated:

   Kenneth L. Dorsney, Esquire                                  VIA ELECTRONIC MAIL
   Cortlan S. Hitch, Esquire
   MORRIS JAMES LLP
   500 Delaware Avenue, Suite 1500
   Wilmington, DE 19801
   Attorneys for Defendant Annora
   Pharma Private Limited

   Saukshmya Trichi, Esquire                                    VIA ELECTRONIC MAIL
   Julie Vernon, Esquire
   CARLSON CASPERS LLP
   Capella Tower, Suite 4200
   225 South Sixth Street
   Minneapolis, MN 55402
   Attorneys for Defendant Annora
   Pharma Private Limited

   Todd S. Werner, Esquire                                      VIA ELECTRONIC MAIL
   William Woodford, Esquire
   AVANTECH LAW, LLP
   80 South 8th Street, Suite 900
   Minneapolis, MN 55402
   Attorneys for Defendant Annora
   Pharma Private Limited
Case 1:20-cv-00987-CFC-JLH Document 234 Filed 12/15/22 Page 4 of 5 PageID #: 5897




   Dominick T. Gattuso, Esquire                       VIA ELECTRONIC MAIL
   HEYMAN ENERIO GATTUSO & HIRZEL LLP
   300 Delaware Avenue, Suite 200
   Wilmington, DE 19801
   Attorneys for Defendants Apotex Inc.
   and Apotex Corp.

   George C. Lombardi, Esquire                        VIA ELECTRONIC MAIL
   Bryce A. Cooper, Esquire
   Kurt A. Mathas, Esquire
   Reid Smith, Esquire
   WINSTON & STRAWN LLP
   35 West Wacker Drive
   Chicago, IL 60601-9703
   Attorneys for Defendants Apotex Inc.
   and Apotex Corp.

   Sharon Lin, Esquire                                VIA ELECTRONIC MAIL
   WINSTON & STRAWN LLP
   1901 L Street NW
   Washington, D.C. 20036
   Attorneys for Defendants Apotex Inc.
   and Apotex Corp.

   Dominick T. Gattuso, Esquire                       VIA ELECTRONIC MAIL
   HEYMAN ENERIO GATTUSO & HIRZEL LLP
   300 Delaware Avenue, Suite 200
   Wilmington, DE 19801
   Attorneys for Defendants MSN
   Pharmaceuticals Inc. and MSN Laboratories
   Private Ltd.
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   George C. Lombardi, Esquire                        VIA ELECTRONIC MAIL
   Bryce A. Cooper, Esquire
   Kurt A. Mathas, Esquire
   Reid Smith, Esquire
   WINSTON & STRAWN LLP
   35 West Wacker Drive
   Chicago, IL 60601-9703
   Attorneys for Defendants MSN
   Pharmaceuticals Inc. and MSN Laboratories
   Private Ltd.

   Sharon Lin, Esquire                                VIA ELECTRONIC MAIL
   WINSTON & STRAWN LLP
   1901 L Street NW
   Washington, D.C. 20036
   Attorneys for Defendants MSN
   Pharmaceuticals Inc. and MSN Laboratories
   Private Ltd.


                                           /s/ Megan E. Dellinger

                                           Megan E. Dellinger (#5739)
